Case 1:16-cv-21199-CMA Document 236-43 Entered on FLSD Docket 04/04/2017 Page 1 of
                                       79




                       COMPOSITE
                       EXHIBIT 43
Case 1:16-cv-21199-CMA Document 236-43 Entered on FLSD Docket 04/04/2017 Page 2 of
                                       79
Case 1:16-cv-21199-CMA Document 236-43 Entered on FLSD Docket 04/04/2017 Page 3 of
                                       79
Case 1:16-cv-21199-CMA Document 236-43 Entered on FLSD Docket 04/04/2017 Page 4 of
                                       79
Case 1:16-cv-21199-CMA Document 236-43 Entered on FLSD Docket 04/04/2017 Page 5 of
                                       79
Case 1:16-cv-21199-CMA Document 236-43 Entered on FLSD Docket 04/04/2017 Page 6 of
                                       79
Case 1:16-cv-21199-CMA Document 236-43 Entered on FLSD Docket 04/04/2017 Page 7 of
                                       79
Case 1:16-cv-21199-CMA Document 236-43 Entered on FLSD Docket 04/04/2017 Page 8 of
                                       79
Case 1:16-cv-21199-CMA Document 236-43 Entered on FLSD Docket 04/04/2017 Page 9 of
                                       79
Case 1:16-cv-21199-CMA Document 236-43 Entered on FLSD Docket 04/04/2017 Page 10 of
                                       79
Case 1:16-cv-21199-CMA Document 236-43 Entered on FLSD Docket 04/04/2017 Page 11 of
                                       79
Case 1:16-cv-21199-CMA Document 236-43 Entered on FLSD Docket 04/04/2017 Page 12 of
                                       79
Case 1:16-cv-21199-CMA Document 236-43 Entered on FLSD Docket 04/04/2017 Page 13 of
                                       79
Case 1:16-cv-21199-CMA Document 236-43 Entered on FLSD Docket 04/04/2017 Page 14 of
                                       79
Case 1:16-cv-21199-CMA Document 236-43 Entered on FLSD Docket 04/04/2017 Page 15 of
                                       79
Case 1:16-cv-21199-CMA Document 236-43 Entered on FLSD Docket 04/04/2017 Page 16 of
                                       79
Case 1:16-cv-21199-CMA Document 236-43 Entered on FLSD Docket 04/04/2017 Page 17 of
                                       79
Case 1:16-cv-21199-CMA Document 236-43 Entered on FLSD Docket 04/04/2017 Page 18 of
                                       79
Case 1:16-cv-21199-CMA Document 236-43 Entered on FLSD Docket 04/04/2017 Page 19 of
                                       79
Case 1:16-cv-21199-CMA Document 236-43 Entered on FLSD Docket 04/04/2017 Page 20 of
                                       79
Case 1:16-cv-21199-CMA Document 236-43 Entered on FLSD Docket 04/04/2017 Page 21 of
                                       79
Case 1:16-cv-21199-CMA Document 236-43 Entered on FLSD Docket 04/04/2017 Page 22 of
                                       79
Case 1:16-cv-21199-CMA Document 236-43 Entered on FLSD Docket 04/04/2017 Page 23 of
                                       79
Case 1:16-cv-21199-CMA Document 236-43 Entered on FLSD Docket 04/04/2017 Page 24 of
                                       79
Case 1:16-cv-21199-CMA Document 236-43 Entered on FLSD Docket 04/04/2017 Page 25 of
                                       79
Case 1:16-cv-21199-CMA Document 236-43 Entered on FLSD Docket 04/04/2017 Page 26 of
                                       79
Case 1:16-cv-21199-CMA Document 236-43 Entered on FLSD Docket 04/04/2017 Page 27 of
                                       79
Case 1:16-cv-21199-CMA Document 236-43 Entered on FLSD Docket 04/04/2017 Page 28 of
                                       79
Case 1:16-cv-21199-CMA Document 236-43 Entered on FLSD Docket 04/04/2017 Page 29 of
                                       79
Case 1:16-cv-21199-CMA Document 236-43 Entered on FLSD Docket 04/04/2017 Page 30 of
                                       79
Case 1:16-cv-21199-CMA Document 236-43 Entered on FLSD Docket 04/04/2017 Page 31 of
                                       79
Case 1:16-cv-21199-CMA Document 236-43 Entered on FLSD Docket 04/04/2017 Page 32 of
                                       79
Case 1:16-cv-21199-CMA Document 236-43 Entered on FLSD Docket 04/04/2017 Page 33 of
                                       79
Case 1:16-cv-21199-CMA Document 236-43 Entered on FLSD Docket 04/04/2017 Page 34 of
                                       79
Case 1:16-cv-21199-CMA Document 236-43 Entered on FLSD Docket 04/04/2017 Page 35 of
                                       79
Case 1:16-cv-21199-CMA Document 236-43 Entered on FLSD Docket 04/04/2017 Page 36 of
                                       79
Case 1:16-cv-21199-CMA Document 236-43 Entered on FLSD Docket 04/04/2017 Page 37 of
                                       79
Case 1:16-cv-21199-CMA Document 236-43 Entered on FLSD Docket 04/04/2017 Page 38 of
                                       79
Case 1:16-cv-21199-CMA Document 236-43 Entered on FLSD Docket 04/04/2017 Page 39 of
                                       79
Case 1:16-cv-21199-CMA Document 236-43 Entered on FLSD Docket 04/04/2017 Page 40 of
                                       79
Case 1:16-cv-21199-CMA Document 236-43 Entered on FLSD Docket 04/04/2017 Page 41 of
                                       79
Case 1:16-cv-21199-CMA Document 236-43 Entered on FLSD Docket 04/04/2017 Page 42 of
                                       79
Case 1:16-cv-21199-CMA Document 236-43 Entered on FLSD Docket 04/04/2017 Page 43 of
                                       79
Case 1:16-cv-21199-CMA Document 236-43 Entered on FLSD Docket 04/04/2017 Page 44 of
                                       79
Case 1:16-cv-21199-CMA Document 236-43 Entered on FLSD Docket 04/04/2017 Page 45 of
                                       79
Case 1:16-cv-21199-CMA Document 236-43 Entered on FLSD Docket 04/04/2017 Page 46 of
                                       79
Case 1:16-cv-21199-CMA Document 236-43 Entered on FLSD Docket 04/04/2017 Page 47 of
                                       79
Case 1:16-cv-21199-CMA Document 236-43 Entered on FLSD Docket 04/04/2017 Page 48 of
                                       79
Case 1:16-cv-21199-CMA Document 236-43 Entered on FLSD Docket 04/04/2017 Page 49 of
                                       79
Case 1:16-cv-21199-CMA Document 236-43 Entered on FLSD Docket 04/04/2017 Page 50 of
                                       79
Case 1:16-cv-21199-CMA Document 236-43 Entered on FLSD Docket 04/04/2017 Page 51 of
                                       79
Case 1:16-cv-21199-CMA Document 236-43 Entered on FLSD Docket 04/04/2017 Page 52 of
                                       79
Case 1:16-cv-21199-CMA Document 236-43 Entered on FLSD Docket 04/04/2017 Page 53 of
                                       79
Case 1:16-cv-21199-CMA Document 236-43 Entered on FLSD Docket 04/04/2017 Page 54 of
                                       79
Case 1:16-cv-21199-CMA Document 236-43 Entered on FLSD Docket 04/04/2017 Page 55 of
                                       79
Case 1:16-cv-21199-CMA Document 236-43 Entered on FLSD Docket 04/04/2017 Page 56 of
                                       79
Case 1:16-cv-21199-CMA Document 236-43 Entered on FLSD Docket 04/04/2017 Page 57 of
                                       79
Case 1:16-cv-21199-CMA Document 236-43 Entered on FLSD Docket 04/04/2017 Page 58 of
                                       79
Case 1:16-cv-21199-CMA Document 236-43 Entered on FLSD Docket 04/04/2017 Page 59 of
                                       79
Case 1:16-cv-21199-CMA Document 236-43 Entered on FLSD Docket 04/04/2017 Page 60 of
                                       79
Case 1:16-cv-21199-CMA Document 236-43 Entered on FLSD Docket 04/04/2017 Page 61 of
                                       79
Case 1:16-cv-21199-CMA Document 236-43 Entered on FLSD Docket 04/04/2017 Page 62 of
                                       79
Case 1:16-cv-21199-CMA Document 236-43 Entered on FLSD Docket 04/04/2017 Page 63 of
                                       79
Case 1:16-cv-21199-CMA Document 236-43 Entered on FLSD Docket 04/04/2017 Page 64 of
                                       79
Case 1:16-cv-21199-CMA Document 236-43 Entered on FLSD Docket 04/04/2017 Page 65 of
                                       79
Case 1:16-cv-21199-CMA Document 236-43 Entered on FLSD Docket 04/04/2017 Page 66 of
                                       79
Case 1:16-cv-21199-CMA Document 236-43 Entered on FLSD Docket 04/04/2017 Page 67 of
                                       79
Case 1:16-cv-21199-CMA Document 236-43 Entered on FLSD Docket 04/04/2017 Page 68 of
                                       79
Case 1:16-cv-21199-CMA Document 236-43 Entered on FLSD Docket 04/04/2017 Page 69 of
                                       79
Case 1:16-cv-21199-CMA Document 236-43 Entered on FLSD Docket 04/04/2017 Page 70 of
                                       79
Case 1:16-cv-21199-CMA Document 236-43 Entered on FLSD Docket 04/04/2017 Page 71 of
                                       79
Case 1:16-cv-21199-CMA Document 236-43 Entered on FLSD Docket 04/04/2017 Page 72 of
                                       79
Case 1:16-cv-21199-CMA Document 236-43 Entered on FLSD Docket 04/04/2017 Page 73 of
                                       79
Case 1:16-cv-21199-CMA Document 236-43 Entered on FLSD Docket 04/04/2017 Page 74 of
                                       79
Case 1:16-cv-21199-CMA Document 236-43 Entered on FLSD Docket 04/04/2017 Page 75 of
                                       79
Case 1:16-cv-21199-CMA Document 236-43 Entered on FLSD Docket 04/04/2017 Page 76 of
                                       79
Case 1:16-cv-21199-CMA Document 236-43 Entered on FLSD Docket 04/04/2017 Page 77 of
                                       79
Case 1:16-cv-21199-CMA Document 236-43 Entered on FLSD Docket 04/04/2017 Page 78 of
                                       79
Case 1:16-cv-21199-CMA Document 236-43 Entered on FLSD Docket 04/04/2017 Page 79 of
                                       79
